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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

USA                                            §
                                               §
vs.                                            §     NO: SA:19-CR-00797(1)-OLG
                                               §
(1) JOSE ANGEL HERNANDEZ                       §

                                             ORDER

       On this day came on to be considered Defendant’s Unopposed Motion to Continue

Sentencing scheduled for Thursday, June 30, 2022. Upon consideration, the Court is of the

opinion that the motion should be granted.

       It is hereby ORDERED that Defendant’s Unopposed Motion to Continue Sentencing

(Doc. No. 105) is GRANTED.

       It is FURTHER ORDERED that the above entitled and numbered cause is rescheduled

for Sentencing on Thursday, August 11, 2022 at 9:30 a.m. in Courtroom C, Second Floor of

the United States Courthouse, 262 W. Nueva Street., San Antonio, Texas.

       Signed this 29th day of June, 2022.




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                                                        ORLANDO L. GARCIA
                                                        CHIEF U.S. DISTRICT JUDGE
